Case 1:17-cr-20156-FAM Document 38 Entered on FLSD Docket 07/20/2017 Page 1 of 1



                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
               SentencingM inutesforHon.Federico A .M oreno

 DATE 07/19/2017 DEFT CHRISTOPHER VEGA CASE NO.17-20156-CR-M ORENO

 REPORTER          GildaPastor-Hernandez                 CLERK    Shirley Christie

 AU SA RobertBrady                     DEFT.COUNSEL        Joaquin Padilla. AFPD

 USPO    NicolePender                      INTERPRETER    N/A

          )Deft.failedtoappear-warranttoissue. Bondforfeited.
        ()Sentencing continueduntil
        (xxx)JUDGM ENT AND SENTENCE
 Im prisonm ent:    47 M ON TH S                                                     -




 (xxx ) CustodyofDefendant
      (xxxlRemandedtotheUnited StatesM arshal
     ()Voluntary Surrenderto (designatedinstitutionorU.S.M arshal)on
      (xxxlcommitmentrecommendation:          DrugTreatment'
                                                           .Pensacola
Supervised Release:       Five years (Drug treatm ent)

Assessm ent:       $100.00

Other:(Fine,restitution,etc.) NO Fine
(xx)Additionalcomments:

COU RT TIM E: 15 m inutes
